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 6

 7                              IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                                            EASTERN DIVISION
10
     AGAPE FAMILY WORSHIP CENTER,                        Case No.: 5:15-cv-01465
11   INC., a New Jersey non-profit corporation,
12           Plaintiff,                                  FIRST AMENDED COMPLAINT FOR
                                                         BREACH OF FIDUCIARY DUTY, FRAUD,
13   vs.                                                 NEGLIGENCE, CIVIL THEFT, MONEY
                                                         HAD AND RECEIVED, UNJUST
14   DONALD RICHARD GRIDIRON, JR.,                       ENRICHMENT, AND RECEIPT OF
     and WESTERN STATES GOLF                             STOLEN PROPERTY
15   ASSOCIATION, a California non-profit
     corporation,
16
             Defendants.
17
18          PLAINTIFF AGAPE FAMILY WORSHIP CENTER, INC., a New Jersey non-profit corporation,
19   through its attorney of record, G. Michael Jackson of Jones, Davis & Jackson, P.C., files its First Amended
20   Complaint for breach of fiduciary duty, fraud, negligence, civil theft, money had and received, unjust
21   enrichment and receipt of stolen property against DEFENDANT DONALD RICHARD GRIDIRON, JR.,
22   and DEFENDANT WESTERN STATES GOLF ASSOCIATION, as follows:
23                                              INTRODUCTION
24          1.      This is an action to recover actual damages, punitive damages, statutory damages, attorneys’
25   fees and costs against Defendants Donald Richard Gridiron, Jr. (“Gridiron”) and Western States Golf
26   Association (“WSGA”). The claims of Plaintiff Agape Family Worship Center, Inc. (“AFWC”) arise as
27   a result of the theft of almost $5 million by Gridiron from AFWC, the funneling of approximately $1.9
28   million of the stolen money through the WSGA, and the expenditure of the stolen money by Gridiron and
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 1   the WSGA. The claims against Gridiron and WSGA arise from a common nucleus of interrelated facts.

 2                                            JURISDICTION AND VENUE

 3           2.      AFWC is a New Jersey non-profit corporation with its principal office in Rahway, New

 4   Jersey. AFWC is a citizen of the State of New Jersey.

 5           3.      Gridiron is an individual residing in Pomona, Los Angeles County, California. Gridiron is

 6   a citizen of the State of California.

 7           4.      WSGA is a California non-profit corporation with its principal office in Corona, Riverside

 8   County, California. WSGA is a citizen of the State of California.

 9           5.      This Court has jurisdiction over this proceeding pursuant to Title 28 United States Code

10   Section 1332 because there is complete diversity of citizenship between AFWC, as Plaintiff, and Gridiron

11   and WSGA, as Defendants, and the amount in controversy exceeds $75,000.

12           6.      Venue is proper in this Court pursuant to Title 28 United States Code Section 1391 because

13   both Gridiron and WSGA, as Defendants, reside within the Central District of California.

14                                                PRIOR LAWSUIT

15           7.      Gridiron was a debtor in a Chapter 7 bankruptcy proceeding, pending in the United States

16   Bankruptcy Court for the Central District of California, In re: Donald Richard Gridiron, Jr., Case No. 2:14-

17   bk-16278-NB. AFWC originally commenced this action as an adversary proceeding in the bankruptcy

18   court, Case No. 2:14-ap-01709-NB; Agape Family Worship Center, Inc. v. Donald Richard Gridiron, Jr.

19   and Western States Golf Association, Inc. Gridiron filed a Voluntary Waiver of Discharge in his

20   bankruptcy proceeding. The adversary proceeding filed by AFWC in the bankruptcy court was dismissed

21   on July 20, 2015 as a result of the waiver of discharge by Gridiron in his bankruptcy case.

22                                           PENDING CRIMINAL MATTER

23           8.      Gridiron is a criminal defendant in Case No. 2:15-cr-00435-KM (formerly Case No. 14-

24   6082-SCM); United States of America v. Donald Gridiron, Jr., pending in the United States District Court

25   for the District of New Jersey. On September 1, 2015, Gridiron plead guilty to a two-count Information for

26   committing wire fraud and filing a false and fraudulent tax return – criminal charges based upon the facts

27   described below. See Exhibit “A” attached hereto and incorporated by reference.

28                                            SPECIFIC ALLEGATIONS
                                               FIRST AMENDED COMPLAINT
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 1          9.     AFWC is a large, non-denominational, Christian church with approximately 4,000

 2   members.

 3          10.    Gridiron is a Certified Public Accountant, licensed by the State of California since 1990.

 4   Through family connections, Gridiron held himself out to be an expert in church-related accounting

 5   matters. Gridiron has provided or is currently providing accounting services to one of more large

 6   churches in the Los Angeles area.

 7          11.    Beginning in 1992, Gridiron began providing accounting services to AFWC. The

 8   accounting services provided by Gridiron included making bill payments, tracking member donations,

 9   reconciling AFWC’s financial books, preparing non-profit IRS filings and documents, working with

10   AFWC’s book keeper, attending to payroll matters, preparing financial reports for AFWC’s board and

11   addressing AFWC’s congregation concerning certain financial matters.

12          12.    In connection with the discharge of his accounting duties to AFWC, Gridiron would travel

13   approximately one time per month to AFWC’s church campus in Rahway, New Jersey to work with

14   AFWC’s book keeper, review the books and records, and meet with AFWC’s Pastor and others. AFWC

15   provided Mr. Gridiron with an office, telephone and supplies while in New Jersey.

16          13.    In 2007, AFWC’s chief financial officer left and was not replaced. At this time, Gridiron

17   took over most church financial matters for AFWC, and continued providing accounting services for

18   AFWC.

19          14.    AFWC initially paid Gridiron a salary $5,000 per month, plus reimbursement for his

20   expenses for his services. In 2009, the amount of salary paid to Gridiron was increased to $5,500 per

21   month, plus reimbursement for his expenses for his services.

22          15.    AFWC’s bank statements were mailed to the church offices in Rahway, New Jersey each

23   month. Gridiron instructed AFWC’s book keeper not to open the bank statements and hold them for

24   him, so that he could reconcile the statements when he returned to California. Gridiron would take the

25   bank statements with him to California and he did not return the bank statements to AFWC.

26          16.    When he visited AFWC each month, Gridiron would also request and receive blank

27   checks from AFWC, which according to Gridiron would be used by him during the upcoming month to

28   pay bills incurred by AFWC.
                                         FIRST AMENDED COMPLAINT
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 1          17.     Unbeknownst to AFWC during the relevant time period, Gridiron was an active member

 2   and officer of the WSGA. The WSGA is an association of golf clubs in Arizona, California, Colorado,

 3   Nevada, New Mexico, Oregon, Utah and Washington that was formed in 1954. The WSGA provides

 4   college scholarships and sponsors an annual multi-day golf tournament for its members at a resort.

 5          18.     The official address listed for the WSGA on its website during the relevant time period

 6   was P.O. Box 1634, Walnut, California 91788, a post office box controlled by Gridiron and utilized by

 7   Gridiron for personal and non-WSGA business. The WSGA website also listed Gridiron as its Treasurer

 8   during the relevant time period. Gridiron also served as the accountant for the WSGA and filed its

 9   required IRS non-profit filings during the relevant time period.

10          19.     The IRS Form 990 for the WSGA was prepared by Gridiron each year and identifies the

11   Gridiron as the WSGA’s “principal officer.” The Form 990 prepared by Gridiron for the WSGA claimed

12   $230,709 of total revenue in 2012, $168,374 of total revenue in 2011, $199,034 of total revenue in 2010,

13   and $236,218 of total revenue in 2009. A recent supplemental tax filing by Gridiron for the WSGA

14   provides “[t]he revenue comes from 2 main sources, membership dues and our annual golf tournament.”

15          20.     Gridiron had exclusive access and control of the WSGA’s bank accounts and bank

16   statements and conducted all banking activities on behalf of the WSGA. Upon information and belief,

17   no WSGA representative, other than Gridiron, ever reviewed the bank statements of the WSGA during

18   the relevant time period. Upon further information and belief, no WSGA representative, other than

19   Gridiron, ever reviewed the tax documents prepared by Gridiron for the WSGA during the relevant time

20   period. Shortly after the prior lawsuit was filed in bankruptcy court, the WSGA removed Gridiron as its

21   Treasurer. Prior to being removed as WSGA’s Treasurer, Gridiron’s actions with respect to the WSGA’s

22   bank accounts were typical of or broadly incidental to the actions of a Treasurer of a non-profit

23   corporation.

24          21.     Gridiron began stealing money from AFWC beginning in 2007 and engaged in a

25   continuous pattern of theft from AFWC until early 2014. In 2007, Gridiron began writing unauthorized

26   checks to himself and third-parties drawn on AFWC’s bank accounts, and sending unauthorized wire

27   transfers to himself from AFWC’s bank accounts.

28          22.     Gridiron confessed his theft to AFWC’s Pastor in March 2014, but significantly
                                          FIRST AMENDED COMPLAINT
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 1   misrepresented the total amount stolen. Due to Gridiron’s concealment of his actions, AFWC had no

 2   knowledge of the facts alleged herein until March 2014.

 3           23.     Following Gridiron’s confession to AFWC’s Pastor, AFWC retained legal counsel and

 4   other professionals to review its books and bank statements. AFWC’s investigation revealed that

 5   Gridiron would use the blank checks he picked up on each visit to AFWC’s campus to write unauthorized

 6   checks either directly to himself, the WSGA or Gridiron’s personal American Express Account. The

 7   majority of the unauthorized checks appear within sequences. For instance, Check No. 24721 through

 8   Check No. 24738, drawn on AFWC’s Account No. *3678, were all unauthorized checks written by

 9   Gridiron. The payees on these checks and the recipients of AFWC’s money were Gridiron, Gridiron’s

10   personal American Express Account, or the WSGA.

11           24.     From 2007 through March of 2014, AFWC identified approximately 800 unauthorized

12   transactions made by Gridiron from AFWC’s bank accounts. The transactions resulted in payments

13   directly to Gridiron of more than $3,000,000, to the WSGA of more than $1,900,000, and to Gridiron’s

14   personal American Express Account of approximately $40,000. The WSGA utilized a portion of the

15   funds received from AFWC to pay for its routine operating expenses when its cash flow from

16   membership dues and its golf tournament was not sufficient to cover such expenses.

17           25.     Just weeks after the confession of his theft, Gridiron filed for Chapter 7 bankruptcy

18   protection. The Statement of Financial Affairs filed by Gridiron in his bankruptcy claims more than $4.8

19   million in “Gambling Winnings,” almost the exact amount that AFWC identified as funds stolen from it

20   by Gridiron.

21                            FIRST CAUSE OF ACTION: AGAINST GRIDIRON

22                                  (Breach of Fiduciary Relationship and Duty)

23           26.     AFWC repeats and realleges the allegations contained in paragraphs 1 through 25,

24   inclusive as if set forth herein in full.

25   ///

26           27.     As the accountant and employee of AFWC, Gridiron was entrusted with AFWC’s money,

27   bank records and financial records. Gridiron held AFWC’s property in trust and there a fiduciary

28   relationship between Gridiron and AFWC, and Gridiron owed AFWC a fiduciary duty. This fiduciary
                                                 FIRST AMENDED COMPLAINT
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 1   duty includes duties to safeguard and protect AFWC’s property and the duties of loyalty, obedience, and

 2   due care, which require among other things that Gridiron place the interests of AFWC ahead of his own

 3   personal interests, and the interests of the WSGA.

 4           28.       Gridiron has breached his fiduciary relationship with AFWC and fiduciary duty to AFWC

 5   by among other things stealing money from AWFC for his personal benefit, stealing money from AFWC

 6   for the benefit of the WSGA, and concealing his theft from AFWC.

 7           29.       AFWC prays for judgment against Gridiron for the damages caused by his breach of

 8   fiduciary relationship and breach of fiduciary duty, including the amount of money stolen according to

 9   proof at trial.

10           30.       The acts and omissions of Gridiron were done with a conscious disregard for AFWC’s

11   rights and with a specific intent to defraud and injure AFWC, so as to constitute fraud, oppression and

12   malice under California Civil Code Section 3294. By virtue of Gridiron’s willful and wrongful conduct,

13   AFWC is entitled to recover punitive damages and exemplary damages according to proof at trial.

14                          SECOND CAUSE OF ACTION: AGAINST GRIDIRON

15                                                       (Fraud)

16           31.       AFWC repeats and realleges the allegations contained in paragraphs 1 through 25,

17   inclusive as if set forth herein in full.

18           32.       As the accountant and employee of AFWC, Gridiron made false representations of

19   material facts to AFWC and failed to disclose other material facts to AFWC concerning money, bank

20   records and financial records.

21           33.       Gridiron knowingly made false representations of material facts to AFWC and knowingly

22   failed to disclose other material facts to AFWC. Each and every material misrepresentation or omission

23   of fact made by Gridiron was relied upon by AFWC to its substantial injury.

24   ///

25           34.       AFWC prays for judgment against Gridiron for the damages caused by his fraud,

26   including the amount of money stolen according to proof at trial.

27           35.       The acts and omissions of Gridiron were done with a conscious disregard for AFWC’s

28   rights and with a specific intent to defraud and injure AFWC, so as to constitute fraud, oppression and
                                                 FIRST AMENDED COMPLAINT
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 1   malice under California Civil Code Section 3294. By virtue of Gridiron’s willful and wrongful conduct,

 2   AFWC is entitled to recover punitive damages and exemplary damages according to proof at trial.

 3                              THIRD CAUSE OF ACTION: AGAINST WSGA

 4                                                     (Negligence)

 5           36.     AFWC repeats and realleges the allegations contained in paragraphs 1 through 25,

 6   inclusive as if set forth herein in full.

 7           37.     WSGA had a duty to use ordinary care to supervise, prohibit, control and regulate the

 8   conduct of its officer and Treasurer, Gridiron. WSGA knew or should have known that its failure to

 9   supervise, prohibit, control and regulate the conduct of its officer and Treasurer created a risk to others.

10           38.     Gridiron, acting as an officer and Treasurer of the WSGA, caused substantial injury to

11   AWFC. WSGA’s negligence in supervising, prohibiting, controlling and regulating the conduct of

12   Gridiron was a substantial factor in causing injury to AFWC.

13           39.     AFWC prays for judgment against WSGA for the damages caused by its negligence,

14   including the amount of money stolen according to proof at trial.

15                  FOURTH CAUSE OF ACTION: AGAINST GRIDIRON AND WSGA

16                                               (Civil Theft / Conversion)

17           40.     AFWC repeats and realleges the allegations contained in paragraphs 1 through 25,

18   inclusive as if set forth herein in full.

19           41.     Through Gridiron’s continuous pattern of activity from 2007 until 2014, individually and

20   on behalf of the WSGA, Gridiron and the WSGA unlawfully and without authority assumed dominion

21   and control over a portion over AFWC’s property, bank accounts and money, and utilized AFWC’s

22   property for their own purposes.

23   ///

24           42.     AFWC prays for judgment against Gridiron and the WSGA for an amount sufficient to

25   indemnify AFWC from the natural, reasonable and proximate results of Gridiron and the WSGA’s

26   actions, for fair compensation for time and money properly spent in the pursuit of the converted property,

27   and the value of the property converted by Gridiron and WSGA according to proof at trial.

28           43.     The acts and omissions of Gridiron and the WSGA were done with a conscious disregard
                                                 FIRST AMENDED COMPLAINT
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 1   for AFWC’s rights and with a specific intent to defraud and injure AFWC, so as to constitute fraud,

 2   oppression and malice under California Civil Code Section 3294. By virtue of Gridiron and the WSGA’s

 3   willful and wrongful conduct, AFWC is entitled to recover punitive damages and exemplary damages

 4   according to proof at trial.

 5                    FIFTH CAUSE OF ACTION: AGAINST GRIDIRON AND WSGA

 6                                           (Money Had and Received)

 7           44.     AFWC repeats and realleges the allegations contained in paragraphs 1 through 25,

 8   inclusive as if set forth herein in full.

 9           45.     Gridiron and the WSGA fraudulently and wrongfully obtained monies from AFWC that,

10   in good conscience and equity, belong to AFWC and utilized AFWC’s money for their own purposes.

11   Good conscience and equity dictate that Gridiron and the WSGA should not be allowed to retain the

12   fraudulently and wrongfully obtained monies from AFWC.

13           46.     AFWC prays for judgment against Gridiron and WSGA for the damages in the amount

14   of money received by them according to proof at trial.

15           47.     The acts and omissions of Gridiron and the WSGA were done with a conscious disregard

16   for AFWC’s rights and with a specific intent to defraud and injure AFWC, so as to constitute fraud,

17   oppression and malice under California Civil Code Section 3294. By virtue of Gridiron and the WSGA’s

18   willful and wrongful conduct, AFWC is entitled to recover punitive damages and exemplary damages

19   according to proof at trial.

20                   SIXTH CAUSE OF ACTION: AGAINST GRIDIRON AND WSGA

21                                                 (Unjust Enrichment)

22           48.     AFWC repeats and realleges the allegations contained in paragraphs 1 through 25,

23   inclusive as if set forth herein in full.

24           49.     Gridiron and the WSGA obtained monies from and utilized AFWC’s money for their own

25   purposes. The failure to allow AFWC to recover the value of the money taken by Gridiron and the

26   WSGA from AFWC and utilized for their own purposes would result in Gridiron and the WSGA being

27   unjustly enriched.

28
                                                 FIRST AMENDED COMPLAINT
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 1           50.     AFWC prays for judgment against Gridiron and WSGA for the damages in the amount

 2   of money received by them according to proof at trial.

 3           51.     The acts and omissions of Gridiron and the WSGA were done with a conscious disregard

 4   for AFWC’s rights and with a specific intent to defraud and injure AFWC, so as to constitute fraud,

 5   oppression and malice under California Civil Code Section 3294. By virtue of Gridiron and the WSGA’s

 6   willful and wrongful conduct, AFWC is entitled to recover punitive damages and exemplary damages

 7   according to proof at trial.

 8                 SEVENTH CAUSE OF ACTION: AGAINST GRIDIRON AND WSGA

 9                       (Receipt of Stolen Property [Cal. Penal Code Section 496(c)])

10           52.     AFWC repeats and realleges the allegations contained in paragraphs 1 through 25,

11   inclusive as if set forth herein in full.

12           53.     Gridiron obtained monies from AFWC and provided some of the money he stole to the

13   WSGA. Because Gridiron was also the principal officer and Treasurer of the WSGA, the WSGA was

14   aware that the monies it received from AFWC were stolen property.

15           54.     Any person who knowingly receives property obtained by theft violates California Penal

16   Code Section 496(a). A party injured due to a violation of Section 496(a) may bring an action for three

17   times the amount of actual damages, costs of suit and attorneys’ fees against the person in violation of

18   Section 496(a). CAL. PEN. CODE § 496(c).

19           55.       AFWC prays for judgment against Gridiron and WSGA for three times the amount of

20   money received by them according to proof at trial, costs of suit and attorneys’ fees.

21                                         STATUTE OF LIMITATIONS

22           56.     AFWC repeats and realleges the allegations contained in paragraphs 1 through 25,

23   inclusive as if set forth herein in full.

24   ///

25           57.     AFWC affirmatively pleads fraudulent concealment, estoppel, the discovery rule, and

26   tolling with respect to any defense raised by the Defendants involving the statute of limitations.

27           WHEREFORE, Plaintiff Agape Family Worship Center, Inc. prays that this Court enter a

28   judgment as follows:
                                                 FIRST AMENDED COMPLAINT
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 1            (1)       On its First Cause of Action, award actual damages according to proof at trial and punitive

 2   damages according to proof at trial against Gridiron;

 3            (2)       On its Second Cause of Action, award actual damages according to proof at trial and

 4                      punitive damages according to proof at trial against Gridiron;

 5            (3)       On its Third Cause of Action, award actual damages according to proof at trial against

 6                      WSGA;

 7            (4)       On its Fourth Cause of Action, award actual damages according to proof at trial and

 8                      punitive damages according to proof at trial against Gridiron and WSGA;

 9            (5)       On its Fifth Cause of Action, award actual damages according to proof at trial and punitive

10                      damages according to proof at trial against Gridiron and WSGA;

11            (6)       On its Sixth Cause of Action, award actual damages according to proof at trial and

12                      punitive damages according to proof at trial against Gridiron and WSGA;

13            (7)       On its Seventh Cause of Action, award three times the actual damages according to proof

14                      at trial, costs of suit and attorneys’ fees, costs of suit and attorneys’ fees against Gridiron

15                      and WSGA; and

16            (8)       On all causes of action, to the extent not otherwise requested, award costs of suit, interest

17                      at the legal rate, and such other and further relief as the Court may deem just and proper.

18   Dated:             September 11, 2015          JONES, DAVIS & JACKSON, PC
19

20
                                                    By:          /s/ G. Michael Jackson
21                                                        G. Michael Jackson
                                                          Attorneys for Agape Family Worship Center, Inc.
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                                                    FIRST AMENDED COMPLAINT
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